Case 1:25-cv-00613-MLB Document 20 Filed 04/01/25 Page1of12

(1-15:

(17-15) (Part 17-15)
Case No. 1:25-cv-00613-MLB

Filed on 3/27/2025 7:14:07 AM RECEIVED IN CHAMBERS

U.S.D.C. - Atlanta

UNITED STATES DISTRICT COURT APR 01 2025
NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION KEVIN P. WEIMER, Clerk
") | Deputy Clerk
Ulysses T. Ware and d/b/a Group Management (a sole proprietorship), (

Appellants,

Vv.

Alpha Capital AG, et al., Predatory Unregistered Broker-Dealers,
Appellees.

(On Appeal from Jn re Group Management Corp., Case No. 03-93031 (BC NDGA), Chapter
11)

[Docket Text]: (17-15) (Part 17-15) March 27, 2025, Appellants’ Urgent
Request for Supervisory Relief: Letter request to Judge Brown re proper
filing and docketing of Appellants’ judicial pleadings in 25cv00613 (NDGA)
in compliance with federal law, 18 USC §§ 2071(a), (b) and Rule 79.

Respectfully submitted this 27" day of March 2025.

The Office of Ulysses T. Ware
123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226

(718) 844-1260
utware007@gmail.com

By: /s/ Ulysses T. Ware

Ulysses T. Ware
Attorney in Fact for Appellants

Waypa 2D Woe

Page 1ofil

Thursday, March 27, 2025

(17-15) (Part 17-15) re Supervisory letter request to Judge Michael L. Brown regarding the District
Clerk’s compliance and possible violations of federal law, 18 USC §§ 2071(a), (b), and Rule 79 with
respect to Appellants’ judicial pleadings and submissions.
Case 1:25-cv-00613-MLB Document 20 Filed 04/01/25 Page 2 of 12

The Office of Ulysses T. Ware
123 Linden Blvd., Ste 9-L
Brooklyn, NY 11226
(718) 844-1260
utware007@gmail.com

March 27, 2025

VIA U.S. MAIL AND ELECTRONIC FILING TO CHAMBERS

The Honorable Michael L. Brown
United States District Judge
Northern District of Georgia
Richard B. Russell U.S. Courthouse
75 Ted Turner Drive, SW

Atlanta, GA 30303

Re: Appellants’ Inquiry Regarding Compliance with Fed. R. Civ. P. 79 and 18 U.S.C. § 2074
Regarding Undocketed Judicial Pleadings in Ware, et al. v. Alpha Capital, AG, et al., Case No.
1:25-cv-00613-MLB (NDGA).

Your Honor:

Appellants Ulysses T. Ware and Group Management (a sole proprietorship)
("Appellants"), appearing by and through their attorney in fact, Ulysses T. Ware, respectfully
submit this letter to bring to the Court’s immediate attention a critical matter concerning the
integrity and completeness of the official court docket in the above-referenced appellate
proceeding. Specifically, this correspondence addresses the apparent failure of the Office of the
District Clerk for the Northern District of Georgia ("District Clerk") to timely and properly file
and docket several judicial pleadings submitted by Appellants, raising serious concerns regarding
compliance with Rule 79 of the Federal Rules of Civil Procedure and the potential implications
under 18 U.S.C. § 2071(a) and (b). See Exhibit 1 and Exhibit 2, infra.

Factual Background

1. On or about March 22, 2025, Appellants transmitted a package via United States Postal
Service (USPS) Priority Mail, Tracking Number 9505514192655081110008, addressed to
the Office of the District Clerk, United States District Court, Northern District of Georgia,
75 Ted Turner Drive, SW, Atlanta, GA 30303.

2. This package contained the following original judicial pleadings, designated pursuant to
18 U.S.C. § 2071 (a) and (b), submitted for filing and docketing in Case No. 1:25-cv-
00613-MLB:

Page 2 of 11

Thursday, March 27, 2025

(17-15) (Part 17-15) re Supervisory letter request to Judge Michael L. Brown regarding the District
Clerk’s compliance and possible violations of federal law, 18 USC §§ 2071(a), (b), and Rule 79 with
respect to Appellants’ judicial pleadings and submissions.
3.

Case 1:25-cv-00613-MLB Document 20 Filed 04/01/25 Page 3of12

a) (17-8) (Part 17-8): APPELLANTS’ 28 USC § 1654 SUPPLEMENTAL LETTER-
BRIEF (#4) IN SUPPORT OF (17-1) MARCH 10, 2025, APPLICATION FOR
ARTICLE Ill “THRESHOLD” JURISDICTIONAL SHOW CAUSE ORDER
AND OTHER RELIEFS (dated March 18, 2025).

b) (17-9) (Part 17-9): APPELLANTS’ 28 USC § 1654 SUPPLEMENTAL
MEMORANDUM OF LAW (#5) IN SUPPORT OF (17-1) MARCH 10, 2025,
APPLICATION FOR ARTICLE III “THRESHOLD” JURISDICTIONAL SHOW
CAUSE ORDER AND OTHER RELIEFS (dated March 19, 2025).

c) (17-10) (Part 17-10): APPELLANTS’ 28 USC § 1654 SUPPLEMENTAL
MEMORANDUM OF LAW (#6) IN SUPPORT OF Dkt. 12, (17-1) MARCH 10,
2025, APPLICATION FOR ARTICLE III “THRESHOLD” JURISDICTIONAL
SHOW CAUSE ORDER AND OTHER RELIEFS—THE HOBBS ACT
CRIMINAL LIABILITY AND CULPABILITY OF KTS, ET AL. (dated March
20, 2025).

d) (17-11) (Part 17-11): APPELLANTS’ 28 USC § 1654 SUPPLEMENTAL
MEMORANDUM OF LAW (#7) IN SUPPORT OF Dkt. 12, (17-1) MARCH 10,
2025, APPLICATION FOR ARTICLE III “THRESHOLD” JURISDICTIONAL
SHOW CAUSE ORDER AND OTHER RELIEFS—BINDING PRECLUSIVE
EFFECTS OF RULE 41(a)((2) FINAL JUDGMENT (dated March 21, 2025).

USPS tracking information provides incontrovertible evidence that the aforementioned
package containing these specific judicial pleadings was physically delivered to the "front
desk, reception area, or mail room" at the U.S. District Court (NDGA) in Atlanta, GA, on
March 25, 2025, at 1:00 PM Eastern Time. See Ex. 2, infra.

A diligent review of the official CM/ECF docket for Case No. 1:25-cv-00613-MLB
conducted as of March 27, 2025, at 05:12:22 AM Eastern Time, reveals that none of the
judicial pleadings designated as 17-8, 17-9, 17-10, or 17-11 have been filed or docketed by
the District Clerk. See Ex. 3, infra.

. The same, 17-8, 17-9, 17-10, and 17-11, also were provided to the Chamber of the District

Judge, actual and constructive possession, in care of Jessica Kelley as courtesy copies on
the dates listed.

Legal Framework and Concerns

1.

Rule 79(a) - Civil Docket: Rule 79(a) of the Federal Rules of Civil Procedure mandates
that the Clerk of Court "must keep a chronological record known as the 'civil docket'" and
that "all papers filed with the clerk" must be entered chronologically on this docket.
Fed. R. Civ. P. 79(a). The timely and accurate docketing of filed documents is
fundamental to the integrity of the judicial record, provides necessary notice to the Court
and parties, and preserves the chronology of proceedings for appellate review.

18 U.S.C. § 2071 - Concealment, Removal, or Mutilation Generally: Federal law
treats the integrity of court records with utmost seriousness. 18 U.S.C. § 2071 provides,
in pertinent part:

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Thursday, March 27, 2025

(17-15) (Part 17-15) re Supervisory letter request to Judge Michael L. Brown regarding the District
Clerk’s compliance and possible violations of federal law, 18 USC §§ 2071(a), (b), and Rule 79 with
respect to Appellants’ judicial pleadings and submissions.
3.

Case 1:25-cv-00613-MLB Document 20 Filed 04/01/25 Page 4of12

(a) Whoever willfully and unlawfully conceals, removes, mutilates, obliterates, or
destroys, or attempts to do so... any record, proceeding,... paper, document, or other
thing, filed or deposited with any clerk or officer of any court of the United States...
shall be fined under this title or imprisoned not more than three years, or both.

(b) Whoever, having the custody of any such record, proceeding,... paper, document,
or other thing, willfully and unlawfully conceals, removes, mutilates, obliterates,
falsifies, or destroys the same, shall be fined... or imprisoned... or both; and shall forfeit
his office and be disqualified from holding any office under the United States.

Appeliants' Concerns and Prejudice: The apparent failure of the District Clerk to timely
file and docket Appellants' judicial pleadings (17-8, 17-9, 17-10, and 17-11), despite
confirmed physical delivery to the Court over 36 hours prior, raises significant
concerns. This absence from the official record prejudices Appellants by: (a) preventing
this Honorable Court from having timely access to and considering Appellants' substantive
legal arguments and factual submissions pertinent to pending motions and the overall
appeal; (b) impeding Appellants’ ability to rely on and cite their own filed documents; (c)
creating unnecessary ambiguity and potential confusion regarding the completeness
and accuracy of the official record; and (d) potentially compromising the record required
for effective judicial review by this Court or any higher court. Ensuring compliance with
Rule 79 and obtaining assurances against any circumstances implicating 18 U.S.C. § 2071
is paramount.

Requested Urgent Supervisory Relief

In light of the foregoing facts and the significant legal implications concerning the integrity

of the official court record, Appellants respectfully request that this Honorable Court undertake
the following urgent supervisory actions:

1.

Inquire with the Office of the District Clerk regarding the current status, physical location,
and processing of Appellants’ judicial pleadings designated as (17-8), (17-9), (17-10), and
(17-11), which were confirmed delivered to the Court on March 25, 2025, at 1:00 PM.

. Direct the Office of the District Clerk to provide forthwith to the Court and Appellants a

sworn, certified chain-of-custody accounting for the physical package containing
judicial pleadings (17-8), (17-9), (17-10), and (17-11), tracing possession from the
confirmed time of delivery (March 25, 2025, 1:00 PM) to the present, detailing all
individuals who handled the package and its current precise location.

Direct the Office of the District Clerk to provide forthwith to the Court and Appellants a
certification of compliance, under penalty of perjury, confirming that the handling and
processing of Appellants’ judicial pleadings (17-8), (17-9), (17-10), and (17-11) fully
comply with the requirements of Fed. R. Civ. P. 79 and, crucially, that no actions
constituting a violation of 18 U.S.C. § 2071(a) or (b) have occurred with respect to these
documents.

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Thursday, March 27, 2025

(17-15) (Part 17-15) re Supervisory letter request to Judge Michael L. Brown regarding the District
Clerk’s compliance and possible violations of federal law, 18 USC §§ 2071(a), (b), and Rule 79 with
respect to Appellants’ judicial pleadings and submissions.
Case 1:25-cv-00613-MLB Document 20 Filed 04/01/25 Page5of12

4. Direct the Office of the District Clerk to immediately file and docket judicial pleadings
(17-8), (17-9), (17-10), and (17-11) onto the official CM/ECF docket for Case No. 1:25-
cv-00613-MLB, reflecting their submission date.

The purpose of these requests is to ensure the accuracy, completeness, and integrity of the
official court record, to safeguard Appellants’ rights to have their submissions timely considered,
and to perfect the record for this Court's review and any potential further judicial review in a higher
court.

Appellants understand the delicate nature of this inquiry and raise it solely out of a procedural
necessity driven by the discrepancy between confirmed delivery and the absence of docket entries
critical to the progression of this appeal.

If the Court has any questions for Appellants regarding this matter, please do not hesitate to
contact us today, Thursday, March 27, 2025. We stand ready to promptly respond to any inquiries
the Court may have.

Respectfully submitted,

/s/ Ulysses T. Ware
CU tipen), Wore

Ulysses T. Ware, attorney in fact for the Appellants

March 27, 2025

cc: Executive Director, Administrative Office of the U.S. Courts

Office of the Judicial Council for the Eleventh Circuit

Page 5 of 11

Thursday, March 27, 2025

(17-15) (Part 17-15) re Supervisory letter request to Judge Michael L. Brown regarding the District
Clerk’s compliance and possible violations of federal law, 18 USC §§ 2071(a), (b), and Rule 79 with
respect to Appellants’ judicial pleadings and submissions.
Case 1:25-cv-00613-MLB Document 20

Filed 04/01/25 Page 6of12

Exhibit 1—(17-12) (Pictures of judicial pleadings) delivered to the District
Court (NDGA) on March 25, 2025, as certified by the U.S. Post Office,

see Ex. 2, infra.

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18: USC §$:2071 (a), (b) Judicial pleading
(17-8) (Part 17-8) (03.18.25)
Case No. 1:25-cv-00613-MLB
IN THE UNITED STATES DISTRICT COURT

FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

re

In re:
GROUP MANAGEMENT CORP, (Debtor),

ie

W-SIOM {EC NOGA) Chapter 11

On appeal in:
ULYSSES T, WARE aad dita GROUP MANAGEMENT. (s sale preprietership),
Appaiiants,
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ALPHA CAPITAL, AC, ct ai, Hobie Act Peedatery i by +
Appelless,

{Docket Text} March 18, 2025, (47-8) (Part 17-8) APPELLANTS" 28 USC §
1654 SUPPLEMENTAL LETTER-BRIEF (#4) IN SUPPORT OF (17-1)
MARCH 10, 2025, APPLICATION FOR ARTICLE HL “tHRESHOLD*
JURISDICTIONAL SHOW CAUSE ORDER AND OTHER RELIEFS.

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Ulyssce T. Ware, 28 USC § 1655 Attorncy-in-fect for Appeliums, Group Management (a safe
propdetochipband Utysses T. Ware

| See 2evO0i13 NDGA) Dig, 5.130 pages 53-1.

Page tata

Tuesday, March 18, 2025

{27-8} thact 17-8) ce Appellants’ renewed Apotication for art Articte itt Surisdictionsl Appetiate Matus
Confersnet and Other Reliefs.

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Page 6 of 11
Thursday, March 27, 2025

(17-15) (Part 17-15) re Supervisory letter request to Judge Michael L. Brown regarding the District
Clerk’s compliance and possible violations of federal law, 18 USC §§ 2071(a), (b), and Rule 79 with

respect to Appellants’ judicial pleadings and submissions.

Case 1:25-cv-00613-MLB Document 20

Filed on March 19, 2025, 11:10:24 AM
Case No, 25ev00613 (NDGA) (MLB)
EX THE UNITED STATES (ISTRICT COURT

FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

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Woche Text] March 19,2025, (17-9) (Part 17-9) APPELLANTS’ 28
USC § 1654 SUPPLEMENTAL MEMORANDUM OF LAW (85) IN
SUPPORT OF (17-1) MARCH 10, 2025, APPLICATION FOR
ARTICLE “THRESHOLD* JURISDICTIONAL SHOW CAUSE
ORDER AND OTHER RELIEFS,

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Page 7 of 11
Thursday, March 27, 2025

Filed 04/01/25 Page 7 of12

(17-10) {Part 17-10)
Filed on March 20, 2025, 11:06:51 AM

Case No. 25ev00613 (NDGA) (MLB)

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

4s

Tn re: :
GROUP MANAGEMENT CORP, (Debtor), 8 [tid ao

03-93031 {BC NDGA), Chapter 11

‘On appeal ie:
ULYSSES T. WARE and. dibfa GROUP MANAGEMENT, (a sule proprietorship),
Apnellzats,
*
ALPHA CAPITAL, AG, et al, Predatory Unregistered Beoker-Dealers,
Appellees, :

[Docket Text] March 20,2025, (17-10) (Part 17-9) APPELLANTS’ 28
USC § 1654 SUPPLEMENTAL MEMORANDUM OF LAW (#6) IN
SUPPORT OF Dkt. 12, (17-1) MARCH 10, 2025, APPLICATION
FOR ARTICLE Ul “THRESHOLD” JURISDICTIONAL SHOW
CAUSE ORDER AND OTHER RELIEFS—THE HOBBS ACT
CRIMINAL LIABILITY AND CULPABILITY OF KTS, ET AL.

Respettfully submited,
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lysses T. Wy;
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Page Lot is
‘Thursday, March 29, 2025
{27-10} part 17-10) ce: Appellants’ Supolemental dum of Lae (8) er Crimi Fabby and
culpability of KTS, its clients, and their privies,

(17-15) (Part 17-15) re Supervisory letter request to Judge Michael L. Brown regarding the District
Clerk’s compliance and possible violations of federal law, 18 USC §§ 2071(a), (b), and Rule 79 with

respect to Appellants’ judicial pleadings and submissions.

Case 1:25-cv-00613-MLB Document 20 Filed 04/01/25 Page 8 of 12

(17-11) (Part 17-11)
Filed on March 21, 2025, 2:49:40 PM

Case No. 25cv00613 (NDGA) (MLB)

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

in res a se
GROUP MANAGEMENT CORP. (Debtor), Rea ©

03-93611 (BC NDGA), Chapter if

On appeal in:
ULYSSES T. WARE and d/oia GROUP MANAGEMENT. (a sale proprietorship),
Appellants,
ve
ALPHA, CAPITAL. AG, of al, Unrevistered i:
Appellees.

[Docket Text] March 21, 2025, (17-11) (Part 17-11) APPELLANTS’
28 USC § 1654 SUPPLEMENTAL MEMORANDUM OF LAW (#7)
IN SUPPORT OF Dkt. 12, (17-lD MARCH 10, 2025, APPLICATION
FOR ARTICLE Ul “THRESHOLD” JURISDICTIONAL SHOW
CAUSE ORDER AND OTHER  RELIEFS—BINDING
PRECLUSIVE EFFECTS OF RULE 41(a)((Q2) FINAL JUDGMENT.

Respectinlly submitted,
fad Ulyases T. Ware
Uysees T. Wage
Alin oD. Wan
Page lof 22
friday, March 21, 2025
(27-21) (Part 17-11) ce Appellants’ Suppl ital Ba dum of law (letter-briet} (87) in Support of
Application for a Show Cause Order, Stay of Brieting Schedule, and Other Rebefs.

Page 8 of 11

Thursday, March 27, 2025

(17-15) (Part 17-15) re Supervisory letter request to Judge Michael L. Brown regarding the District
Clerk’s compliance and possible violations of federal law, 18 USC §§ 2071(a), (b), and Rule 79 with
respect to Appellants’ judicial pleadings and submissions.
Case 1:25-cv-00613-MLB Document 20 Filed 04/01/25 Page9of12

Exhibit 2—March 25, 2025, U.S. Post Office certification of delivery to
the U.S. District Court (NDGA), Atlanta, GA, at 1:00 PM.

25cv00613 (NDGA)
USPS Tracking’ FAQs >

March 25, 2025, delivered at the U.S. District Court (NDGA) in Atlanta, GA at 1:00 PM
for filing and docketing in Ware, et ail. v. Alpha Capital, AG, et al., 25cv00613 (NDGA)

Contents: 18 USC 2071 (a), (b) judicial pleadings: 17-8, 17-9, 17-10,
and 17-11.

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Latest Update

Your item was delivered to the front desk, reception area, or mail room at 1:00 pm on March 25, 2025 in
ATLANTA, GA 30303.

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ATLANTA, GA 30303
March 25, 2025, 1:00 pm

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Thursday, March 27, 2025

(17-15) (Part 17-15) re Supervisory letter request to Judge Michael L. Brown regarding the District
Clerk’s compliance and possible violations of federal law, 18 USC §§ 2071(a), (b), and Rule 79 with
respect to Appellants’ judicial pleadings and submissions.
Case 1:25-cv-00613-MLB Document 20 Filed 04/01/25 Page 10 of 12

Exhibit 3—25cv00613 (NDGA) docket, on March 27, 2025, at 05:12:22

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CM:

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Date Filed Docket Text

0319/2095 "1509 | Appellant’ Declaration of Undispmed Facts aud response to the Course 4 88] Onder filed by Ulysses T. Wane (Artachienis:# { 8 Clen’s Fling Laver #309 spnellant's Refling) {pds (Entered:
03/21:2025)

03/19:2025 | 148) | MOTION for Appellate Stanis Conference, Briefing Schedule and Show Cause Onder for Sanetious by Group Managerhent and Ulysses T. Ware: (Attachments: #1 £8) Appellants’ Rule $06) Motion to

i , Vacate March 10, 2025 Onder, + 2 Appellants! March 12,2625 fling ofthe Rule SMe), 22 @@ Appellants Rule 59(2) Application to Vacate. #4 EY Memorandum of Low, # $B Pro Se Appellanis'

' | Cantificate of Fillag, # ¢ 83 Supplemental Memorandum ia Soppor. $7 &8 Declaration of Filing, #$ G4 Filing lustritions for District Cleck (NDGA) Reganding Subinission of Fadiclal Pleadings) (pd)

_ Entered: 02/212025)

|9319/2035 Be NOTICE of Appearance by Ulysses T. Ware for Appellant Group Management. {pdt} (Ewsered: 03/20/2025) .

31820251208 | Appellants’ Reqnes: for Rnle 3.3 and Rule 8.4 Professional Responsibility and Duty of Candor Show Caose Order: Appellate Stans Conference and Briefing Scheduls by Ulysses T. Ware. (Attachments: 1

: ' Memorandam of Law, #2 Cover Letter) ipdt) (Entered: 03/19/2023)

(0182025 | LOY Mail Retumed as Udeliverble ("Rent to Sender Unable to Forward.) Mail sent to Group Management re 4 EY Order. (pdt} (Entered: 03/18 2025)

O3172025 | Clents Centifiate of Meling 33 to Ulysses T. Waree 10 B89 Banknipncy Appeal Baefing Schitule. (bet) tered: 31722025)

aB:t7na2s 10 | Nodce of Bankroprey Appeal Briefing Schedule te ll patties. Appellants Brief due by 4°16°2026, (hat) Eonered: 03/17/2025)

313205 9 BANKRUPTCY RECORD RECEIVED ( Attachméats: 2 j doc #298) (Lugo. Vahatra} (Entered: 03/13/2005}

03122025 - 1608 | Appellants’ Respotse Brief i Support of Appellant Ware's Stains as the Only Lawiully Authorized Real Party in loterest by Ulysses T. Ware: (Atinchnents: # 2 BB Notice of appearance. @ 2 [3 Enclosures)
{pch) (Entered: 03/2472025)

OVILWIS: Clerk's Certificate af Mailing as to Ulysses T. Ware ze @ Order: (pdt) (Entered: 03/11/2025)

03102025 | | $08 | DECLARATION of Service of Filing and Service of Response to 4 €4 Oier filed by Ulysses T. Ware (bgt) (Enrered: 03/12/2025)

03/10/2025 § ORDER The Court cadered Appellant Group Management to have counsel fle # notice of appearance with the Cleck no liter than Mach 6, 2025. The Court warned Appellant itut failure to comply nay
result in sanctions, including dismissal. Appeliant has failed to comply with the Conn's order. Accordizgly, the Coun DISMISSES Appellant Group Management without prejudice for failure tb comply witha
lawful order of the Const. Sigued by Judge Michael L: Brown on this 10th day of March, 2029. {pdt} (Emened: 02/11/2025)

03072025 | 78] DECLARATION of Service of Actual Notice of Adverse Consequetices filed by Group Management. Ulgsses T, Ware. (Attachments! #1 B Cover Letter){bgi} (Entered: 03/12/2025)

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288, 12 doc 289, 3 13 (Fl doc 292 (1-270). 8 $4 fl doc 292 (271-470), #15 BM doc 293.3 16 BB doc 294, + 17 BA Docker shoet\dl ego, Yahaira) (Entered: 03/07/2075)

82142025 Cleth’s Certificate of Mailing as to Group Management and Ulysses T. Wate re 4 © Order: (pat) (Entered: 02/14/2025)

02/132023 - 4B ORDER The Court NOTIFIES Appellant Group Mumagement that a corpevation cannot appear pro se and nmust be repeesented br counsel. The Court NOTIFIES Appellant Group Management that a

Page 10 of 11

Thursday, March 27, 2025

(17-15) (Part 17-15) re Supervisory letter request to Judge Michael L. Brown regarding the District
Clerk’s compliance and possible violations of federal law, 18 USC §§ 2071/(a), (b), and Rule 79 with
respect to Appellants’ judicial pleadings and submissions.
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Case 1:25-cv-00613-MLB Document 20 Filed 04/01/25 Page11of12

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_Tnndut order of the Court. Signed by Judge

satel 1. Brows on this 10th day of March, 2025. tele) tEntored: oat
72 “DECLARATION at P Service of Agha Notice of ‘Adverse Conrequences ‘filed by Group Matiagement, ‘Ulyoses 9. ans: iAitachsies 184 Cover Leriarkbgt) Entered: 05°122025)

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Clerk's Contitionte of Mailing ns to Grong Managenvast sad Ulyssen T. Waro ro 4 BY Oneles. (pdt) (Entered: 02714720251

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483 | ORDER. The Court NOTIFIES Appellant Group thats ion cannot appeat pro se nnd miust be represented by counsel. The Court NOTIFIES Appellant Group Management that a
corporation cannot appear pro s¢ nad aust be represected by conare). The Court ORDERS Appellant Group Management te have counsel file p notice of appearance with the Ciedk no Later than March 6,
12025, Failure to comply with this order may seauit in sanctions ngaingt Appellant Group Management. aicliding disrnisml The Conirt DIRECTS the Clerk-to submit this matter ofter March 6, 2025, ifan
attorney docs not Gle a notice of appeirance on behalf of Appellant Gaiup Managetsest. Signed be Judge Michael L. Brow ou thiv 13th day of February: 2025, ipaty (Entered: 02/14°2025)

Filing Fee Poids $ 258, feeaipt number 10006336 tna) (Entered: 02/12/2025}

Clerk's Corfificate of Mailing as to Group Manngeniont. Uiysees T. Ware re 3 Order, 2 Onder and IEP k fom i ites} (Entered: BAN220I5}

2 ORDER DIRECTING the Appelinnt to pay the required appeal fling fee to te raat Ot, ively, suboilt ua apphieati fo appesl in forma pauperis. ait ot bafta 2/26/2025. The Court
DIRECTS the Clock to mail an in forte panporis application to Appellant alongside @ odpy of this Order and tw sebmiit this matter to the undersigned after the exps ofthe i deadline.
Forms sent to party: Adtidavir to Procied IFP. Sigtid by idge Micheal L: Bicwa dn 2/12:2025. (tay) (Etored: 02/12/2025)

ON 3024 2 | STANDING ORDER REGARDING CIVIL LITIGATION, Signed by Judge Michael L. Brows ob 8262021: (tus) (Eatéeed: 03122025)
OM L025 : Subsiission of 1 Bathiupiey Notice of Appeal for fee deremulsation to District Judge Michne! L: Brow: bu) (Enteted: 0211-0024)

Ont

3025

i | Bankruptcy Notice of Appeal, USBC Casev: 03-9403 LWLH. Notice of Appeal Uiled 27/2025 Irons Orthos antared 472
For Paid No. Bled by Group } Masigemert, Ulysaes T. Ware. {Atmclmamnts: 8 LNOA dee 279, #2 a ee ‘Cnster Dor

28.9 2 Appealed onder doc #256. 2 4 Appaaled order doe 8274, # 5 Appeated order

‘Proceed Beface US. My

FOUS. LION, P2TI2622 by Appellant Ulysases T. Ware ned Group Management. i

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Receipt

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Page 11 of 11

Thursday, March 27, 2025

(17-15) (Part 17-15) re Supervisory letter request to Judge Michael L. Brown regarding the District
Clerk’s compliance and possible violations of federal law, 18 USC §§ 2071(a), (b), and Rule 79 with
respect to Appellants’ judicial pleadings and submissions.
Case 1:25-cv-00613-MLB
Office of Ulysses T. Ware

123 Linden Blvd, Ste 9-L
Brooklyn, NY 11226

Re: Filed on 03.27.25

(17-15) (Part 17-15)
25cv00613 (NDGA)

Request for supervisory reliefs

Document 20 Filed 04/01/25 Page 12 of 12

The Honorable Michael L. Brown
United States District Judge
Northern District of Georgia
Richard B. Russell U.S. Courthouse
75 Ted Turner Drive, SW

Atlanta, GA 30303

